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VIA ECF DATE FILED: 01/27/2022
The Honorable ® ——— nel

United States Magistrate Judge

Daniel Patrick Moynihan United States Courthouse

500 Pearl St.
New York, NY 10007-1312

anuary 26, 2022

MEMO ENDORSED

Re: Project South et al. v. U.S. Immigration and Customs Enforcement et al., 21 Civ. 8440

(ALC) (BCM)

Dear Judge Moses:

We write as counsel for Plaintiffs Project South and Center for Constitutional Rights, in
the above-referenced case filed under the Freedom of Information Act, 5 U.S.C. §§ 552 et seq.
We respectfully request on behalf of all parties a second adjournment of the initial conference
currently scheduled for February 3, 2022, at 11:00 a.m.

The parties have begun to meet and confer regarding various aspects of the Plaintiffs’
FOIA requests and the agencies’ questions of how to most effectively search for the records
sought by Plaintiffs. The parties seek additional time to continue these good faith discussions

before appearing before the Court.

Additionally, because FOIA cases typically do not involve discovery, the parties do not

plan to submit a discovery schedule at this time.

 

We respectfully request a 30-day adjournment of the initial conference, from February 3,
2022. to March 3, 2022. or to any day thereafter convenient for the Court. We respectfull

 

 

request that due to scheduling conflicts for Plaintiffs’ counsel, the conference not be scheduled

on a Tuesday.

We thank the Court for its consideration.

pplication GRANTED. The initial case management
onference will take place on March 3, 2022, at 11:00 a.m., in
ourtroom 20A of the Daniel Patrick Moynihan United States
ourthouse. No later than February 24, 2022, the parties shall
ile their pre-conference joint statement. SO ORDERED.

aD \ Ve ~

Sawa
arbara Moses, U.S.M.J.
anuary 27, 2022

 

cc: Counsel of Record via ECF

 

___/s/_ Baher Azmy___
Baher Azmy, Legal Director
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